
PETERS, J.
1 ;For the reasons assigned in Rebel Distributors, Inc. et al. v. LUBA Workers’ Comp. et al., 12-909 (La.App. 3 Cir. 3/6/13), 129 So.3d 80, we reverse the judgment of the workers’ compensation judge and render judgment in favor of Camelot of Broussard and LUBA Casualty Insurance Company, granting their peremptory exception of no right of action and dismissing the claims of Rebel Distributors Corporation, Inc. d/b/a Physician Partner and Pharmacy Partner. We assess all costs of this appeal against Rebel Distributors Corporation, Inc. d/b/a Physician-Partner and Pharmacy Partner.
REVERSED AND RENDERED.
